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                                #:16267


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 4
                       UNITED STATES DISTRICT COURT
 5
                      CENTRAL DISTRICT OF CALIFORNIA
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 7   IN RE: NATIONAL FOOTBALL              Case No. 2:15-ml-02668-PSG (JEMx)
 8   LEAGUE’S “SUNDAY TICKET”
     ANTITRUST LITIGATION                  [PROPOSED] ORDER REGARDING
 9                                         THE NFL DEFENDANTS’
     _______________________________
10                                         APPLICATION UNDER LOCAL
                                           RULE 79-5 TO FILE DOCUMENTS
11   THIS DOCUMENT RELATES TO              UNDER SEAL
     ALL ACTIONS
12
                                           Judge: Hon. Philip Gutierrez
13

14                                         Date: January 13, 2023
                                           Time: 1:30 p.m.
15                                         Courtroom:
16                                                First Street Courthouse
                                                  350 West 1st Street
17                                                Courtroom 6A
18                                                Los Angeles, CA 90012
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                                #:16268


 1           Pending before the Court is the NFL Defendants’ Application Under Local
 2   Rule 79-5 to File Documents Under Seal. The Court has considered the application
 3   and GRANTS the application.
 4           IT IS HEREBY ORDERED that the following documents are to be filed under
 5   seal:
 6           1.    The sealed Declaration of Rakesh N. Kilaru in Support of NFL
 7   Defendants’ Application Under Local Rule 79-5 to File Documents Under Seal.
 8           2.    The unredacted version of the NFL Defendants’ Memorandum in
 9   Support of the NFL Defendants’ Motion to Exclude the Opinions of J. Douglas
10   Zona.
11           3.    Exhibit 1 to the Declaration of Rakesh N. Kilaru in Support of the NFL
12   Defendants’ Motion to Exclude the Opinions of J. Douglas Zona.
13           4.    Exhibit 2 to the Declaration of Rakesh N. Kilaru in Support of the NFL
14   Defendants’ Motion to Exclude the Opinions of J. Douglas Zona.
15           5.    Exhibit 3 to the Declaration of Rakesh N. Kilaru in Support of the NFL
16   Defendants’ Motion to Exclude the Opinions of J. Douglas Zona.
17           6.    Exhibit 4 to the Declaration of Rakesh N. Kilaru in Support of the NFL
18   Defendants’ Motion to Exclude the Opinions of J. Douglas Zona.
19           7.    Exhibit 5 to the Declaration of Rakesh N. Kilaru in Support of the NFL
20   Defendants’ Motion to Exclude the Opinions of J. Douglas Zona.
21           8.    Exhibit 6 to the Declaration of Rakesh N. Kilaru in Support of the NFL
22   Defendants’ Motion to Exclude the Opinions of J. Douglas Zona.
23           9.    Exhibit 7 to the Declaration of Rakesh N. Kilaru in Support of the NFL
24   Defendants’ Motion to Exclude the Opinions of J. Douglas Zona.
25           10.   Exhibit 8 to the Declaration of Rakesh N. Kilaru in Support of the NFL
26   Defendants’ Motion to Exclude the Opinions of J. Douglas Zona.
27           11.   The unredacted version of Exhibit 9 to the Declaration of Rakesh N.
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 1   Kilaru in Support of the NFL Defendants’ Motion to Exclude the Opinions of J.
 2   Douglas Zona.
 3         12.   Exhibit 10 to the Declaration of Rakesh N. Kilaru in Support of the
 4   NFL Defendants’ Motion to Exclude the Opinions of J. Douglas Zona.
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 6                                              IT IS SO ORDERED.
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 8   Dated: ___________________                 ______________________________
                                                PHILIP S. GUTIERREZ
 9
                                                United Sates District Judge
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